























IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,182




IN RE FRANCISCO IBARRA, Relator
&nbsp;



ON PETITION FOR A WRIT OF PROHIBITION
IN CAUSE NO. CR-08-287 IN THE 428TH  DISTRICT COURT
FROM HAYS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator filed a motion for leave to file and a petition for a writ of prohibition, invoking our
constitutional and statutory authority to issue writs of prohibition in criminal law matters. Tex.
Const. art. V, § 5; Tex. Code Crim. Proc. art. 4.04. The petition requests that we issue a writ of
prohibition in the underlying case, preventing execution of the district court’s pre-trial order
requiring relator to submit to a psychological examination conducted by the State’s expert.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This Court’s March 18, 2009 order stayed enforcement of the trial court’s order and ordered
the parties to answer relator’s petition. Both the State and the respondent, the Judge of the 428th
District Court of Hays County, have filed answers and are opposed to the prohibition petition. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We grant relator’s motion for leave to file and order that this petition be filed and set for
submission to determine whether Lagrone v. State


 applies to non-death penalty cases and, if so,
whether the pre-trial order at issue is authorized by Lagrone. All parties shall brief these issues. No
oral argument will be permitted. All briefs shall be filed with this Court within 30 days of the date
of this order.
Filed: July 1, 2009
Do Not Publish


